





















Opinion issued March 31, 2011

&nbsp;


 
 
  
  
  
  
  
  
  
  
  
  
  
  
 
 
 

 


&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00578-CV

———————————

WEINGARTEN
REALTY INVESTORS, Appellant

V.

SOUTH FULTON KPI, LLC AND JAMES G.
KOMAN, Appellees



&nbsp;



&nbsp;

On Appeal from the 234th District Court 

Harris County, Texas



Trial Court Cause No. 2009-47794A

&nbsp;



MEMORANDUM OPINION

Appellant has filed a motion to dismiss the
appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P. 42.1(a)(1).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Chief
Justice Radack and Justices Bland and Brown.





